Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 1 of 15




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             Case No. 16-23064-CIV-GAYLES/OTAZO-REYES

   FRANCOIS ALEXANDRE,

             Plaintiff,
   v.

   CITY OF MIAMI, et al.,

             Defendants.
                                                       /

                                                      ORDER

             THIS CAUSE comes before the Court upon Defendants, Officers Ruben Rojas, Magdiel

   Perez, Josue Herrera, and the City of Miami’s Motion for Summary Judgment [ECF No. 84] and

   Defendant Javier Ortiz’s Motion for Summary Judgment [ECF No. 86]. The Court has carefully

   reviewed the Motions, the record, argument of counsel, and the applicable law. For the reasons

   set forth below, the Motions are granted in part.

                                                BACKGROUND1

             On June 21, 2013, the Miami Heat won the National Basketball Association

   Championship in game seven at American Airlines Arena. As in many cities after a home-team

   win, Heat fans celebrated in the streets of downtown Miami. Plaintiff Francois Alexandre

   (“Plaintiff”) lived in the area and was outside celebrating with approximately thirty (30) other

   fans on the street in front of his apartment building. Plaintiff had consumed some alcohol but

   disputes that he was intoxicated.

             Sometime after 1:30 in the morning, officers from the City of Miami Police Department

   were clearing the street near Plaintiff’s apartment by forming a line while holding up their

   1
             The record includes video footage of the incident from Plaintiff’s cell phone and a building security
   camera.
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 2 of 15




   bicycles (the “bike line”). As the bike line moved forward, the officers issued a dispersal order,

   directing the crowd to move to the sidewalk and leave the area. Plaintiff, while filming on his

   cell phone, shouted “we ain’t going home tonight,” “we are tax-payers,” and “don’t take this

   bullshit from them.” Despite his vocal protests, Plaintiff proceeded to comply with the officers’

   order and moved to the sidewalk. Once on the sidewalk, Plaintiff stated “we are on the sidewalk.

   Get the fuck out of here and do your business.”

            An unidentified woman then either fell or was pushed to the ground in front of the bike

   line. Plaintiff stopped to lean over the woman and then lifted his phone to continue recording the

   police. Seconds later, Defendant Lieutenant Javier Ortiz (“Ortiz”) grabbed Plaintiff around the

   neck and pulled him into the alcove of Plaintiff’s apartment building.2 Several other officers,

   including Defendant Officers Josue Herrera (“Herrera”), Magdiel Perez (“Perez”), Ruben Rojas

   (“Rojas”), and Christopher Vital (“Vital”), immediately converged on top of Plaintiff and helped

   Ortiz throw him to the ground. At no time before Ortiz grabbed Plaintiff can Ortiz be heard

   telling Plaintiff that he was under arrest or asking Plaintiff to put his hands behind his back.

            Once the officers were piled on Plaintiff, it is difficult to view from the video what was

   happening and the parties give conflicting accounts. Plaintiff contends that, once he was on the

   ground, his arms were pinned underneath his body. Defendants contend that Plaintiff was

   actively resisting arrest by keeping his arms underneath his body. Defendants admit that Vital

   punched Plaintiff two times and that Herrera used an open hand to strike Plaintiff to encourage a

   reach response from Plaintiff.3 While Plaintiff asserts that he was punched, kicked, and thrown


   2
            For this portion of the incident, the Court has the benefit of the security-camera footage, providing an aerial
   view with no sound, and Plaintiff’s cell phone video footage, which no longer provides a good visual of the events
   (as Plaintiff has been thrown to the ground), but does provide an audio recording of both Plaintiff and the officers’
   voices.
   3
            Vital has not been served and, pursuant to representations by the Defendants at the hearing, is no longer
   with the City of Miami Police Department.
                                                              2
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 3 of 15




   to the ground, he does not know which officers inflicted the various blows. Plaintiff’s injuries

   included a fractured orbital bone, lacerations and contusions. It is unclear whether Plaintiff’s

   injuries were caused by the force used to throw him to the ground or the officers’ punches and/or

   kicks to Plaintiff’s body. While on the ground, Plaintiff told the officers, “I’m not resisting. I’m

   not resisting.” In response, one or more officers told Plaintiff to “shut the fuck up.” Within

   minutes, the officers handcuffed Plaintiff and led him to a patrol car. While walking to the car,

   one of the officers mocked Plaintiff saying, “you have lipstick on you sir, you have lipstick on

   you sir, now you need heels, now you need heels.”

           On September 26, 2017, Plaintiff filed his Amended Complaint against Defendants City

   of Miami (the “City”) and Herrera, Ortiz, Rojas, Perez, Vital, and four unidentified City of

   Miami police officers (collectively, the “Individual Defendants”).                Plaintiff alleges (1) § 1983

   unlawful arrest against the Individual Defendants; (2) § 1983 excessive force against the

   Individual Defendants; (3) violation of the right to peaceably assemble against the Individual

   Defendants; (4) § 1983 false arrest and excessive force against the City; (5) false arrest under

   Florida law against the Individual Defendants; and (6) battery under Florida law against the

   Individual Defendants. See [ECF No. 66]. On December 15, 2017, Defendants Rojas,4 Perez,

   Herrera, and the City filed a Motion for Summary Judgment [ECF No. 84]. Ortiz filed a separate

   Motion for Summary Judgment [ECF No. 86] on December 15, 2017.

                                                     ANALYSIS

                                                Standard of Review

           Summary judgment, pursuant to Federal Rule of Civil Procedure 56(a), “is appropriate only

   if ‘the movant shows that there is no genuine issue as to any material fact and the movant is


   4
           On January 30, 2018, the Court dismissed Officer Rojas from this action pursuant to Plaintiff’s Motion for
   Voluntarily Dismissal [ECF No. 103].
                                                           3
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 4 of 15




   entitled to judgment as a matter of law.” Tolan v. Cotton, 134 S. Ct. 1861, 1866 (2014) (per

   curiam) (quoting Fed. R. Civ. P. 56(a)). “By its very terms, this standard provides that the mere

   existence of some alleged factual dispute between the parties will not defeat an otherwise

   properly supported motion for summary judgment; the requirement is that there be no genuine

   issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). An issue

   is “genuine” when a reasonable trier of fact, viewing all of the record evidence, could rationally

   find in favor of the nonmoving party in light of his burden of proof. Harrison v. Culliver, 746

   F.3d 1288, 1298 (11th Cir. 2014). And a fact is “material” if, “under the applicable substantive

   law, it might affect the outcome of the case.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

   1259–60 (11th Cir. 2004). “Where the material facts are undisputed and all that remains are

   questions of law, summary judgment may be granted.” Eternal Word Television Network, Inc. v.

   Sec’y of U.S. Dep’t of Health & Human Servs., 818 F.3d 1122, 1138 (11th Cir. 2016). The Court

   must construe the evidence in the light most favorable to the nonmoving party and draw all

   reasonable inferences in that party’s favor. SEC v. Monterosso, 756 F.3d 1326, 1333 (11th Cir.

   2014). However, to prevail on a motion for summary judgment, “the nonmoving party must offer

   more than a mere scintilla of evidence for its position; indeed, the nonmoving party must make a

   showing sufficient to permit the jury to reasonably find on its behalf.” Urquilla-Diaz v. Kaplan

   Univ., 780 F.3d 1039, 1050 (11th Cir. 2015).

   I.     False Arrest Claims Against the Individual Defendants

          Plaintiff contends that he was arrested without probable cause in violation of the Fourth

   Amendment. “[A] warrantless arrest lacking probable cause violates the Constitution.” Gates v.

   Khokhar, 884 F.3d 1290, 1297 (11th Cir. 2018). However, “‘the existence of probable cause at




                                                   4
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 5 of 15




   the time of arrest is an absolute bar to a subsequent constitutional challenge to the arrest.’” Id.

   (quoting Brown v. City of Huntsville, 608 F.3d 724, 734 (11th Cir. 2010)).

           To ascertain whether the Individual Defendants had probable cause to arrest Plaintiff, the

   Court must “examine the events leading up to the arrest, and then decide whether these historical

   facts, viewed from the standpoint of an objectively reasonable police officer, amount to probable

   cause.” District of Columbia v. Wesby, 138 S. Ct. 577, 586 (2018) (quoting Maryland v. Pringle,

   540 U.S. 366, 371 (2003)). Probable cause “is not a high bar,” requiring “only a probability or

   substantial chance of criminal activity, not an actual showing of such activity.” Id. (first quoting

   Kaley v. United States, 134 S.Ct. 1090, 1103 (2014), then quoting Illinois v. Gates, 462 U.S. 213,

   243–44 n.13 (1983)).

           Even without actual probable cause, a police officer is entitled to qualified immunity “if

   he had only ‘arguable’ probable cause to arrest the plaintiff.” Khokhar, 884 F.3d at 1298.

   “Arguable probable cause exists where reasonable officers in the same circumstances and

   possessing the same knowledge as the [defendant] could have believed that probable cause

   existed to arrest.” Id. (quoting Redd v. City of Enterprise, 140 F.3d 1378, 1383–84 (11th Cir.

   1998)) (emphasis added in Khokhar).

           To determine whether an officer has actual probable cause or arguable probable cause,

   the Court looks at “the elements of the alleged crime and the operative fact pattern.” Id. (quoting

   Brown, 608 F.3d at 735). Plaintiff was arrested and charged with incitement to riot, Florida

   Statute § 870.01, and resisting an officer without violence, Florida Statute § 843.02.5 The “riot”

   statute provides that “all persons guilty of a riot, or of inciting or encouraging a riot, shall be

   5
            Defendants also contend in their Motions that there was probable cause to arrest Plaintiff for violating
   Florida Statute § 316.130(3), a traffic regulation that prohibits pedestrians from walking upon paved roadways
   where sidewalks are provided. Because the Court finds the Individual Defendants had probable cause to arrest
   under § 843.02 and arguable probable cause to arrest under both § 843.02 and § 870.01, it declines to address
   whether a non-criminal traffic infraction can provide a basis for arrest.
                                                          5
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 6 of 15




   guilty of a felony of the third degree, punishable as provided in s. 775.082, s. 775.083, or s.

   775.084.” Fla. Stat. § 870.01. The statute does not define riot, but the Florida Supreme Court, in

   holding that the statute was not void for vagueness, relied on the common law definition of riot.

   State v. Beasley, 317 So. 2d 750, 752 (1975). “The term ‘riot’ at common law is defined as a

   tumultuous disturbance of the peace by three or more persons, assembled and acting with a

   common intent, either in executing a lawful private enterprise in a violent and turbulent manner,

   to the terror of the people, or in executing an unlawful enterprise in a violent and turbulent

   manner.” Id.

          The Court finds it questionable whether the Individual Defendants had probable cause to

   arrest Plaintiff for inciting a “riot.” The video footage does not show events that would cause an

   objectively reasonable police officer to believe there was a substantial chance that Plaintiff was

   inciting the crowd to engage in a tumultuous disturbance of the peace in a violent and turbulent

   manner. However, because the bar is so low, the Court is compelled to find arguable probable

   cause for the arrest. A reasonable officer certainly could have believed, upon hearing Plaintiff

   shout “we ain’t going home tonight” and “don’t take this bullshit from them,” that Plaintiff was

   encouraging the crowd to act in a violent and turbulent manner. The Individual Defendants,

   therefore, have qualified immunity as to Plaintiff’s constitutional false arrest claim.

          The Court also finds that the Individual Defendants had actual probable cause to arrest

   Plaintiff for resisting the execution of the dispersal order. The elements of the crime of resisting

   an officer without violence under § 843.02 are (1) the officer was lawfully executing a legal duty

   and (2) the defendant acted in such a way as to obstruct or resist the execution of the officer’s

   duty. See B.M v. State, 212 So. 3d 526, 528 (Fla. 2d DCA 2017). The video footage of the

   events leading up to Plaintiff’s arrest shows Plaintiff, at one point, complying with the officers’


                                                     6
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 7 of 15




   directive to move to the sidewalk, albeit under protest. However, after the woman falls to the

   ground, Plaintiff stops to film. A reasonable officer in the same circumstance possessing the

   same knowledge could certainly believe that there was a substantial probability that Plaintiff was

   resisting the dispersal order. See Gates, 462 U.S. at 243 n.13 (noting that “innocent behavior

   frequently will provide the basis for a showing of probable cause”). Accordingly, because the

   Individual Defendants had actual probable cause to arrest Plaintiff for resisting an officer without

   violence, they are entitled to summary judgment on both the constitutional false arrest claim

   (Count One) and the Florida false arrest claim (Count Five). See Mas v. Metropolitan Dade

   County, 775 So. 2d 1010, 1010 (Fla. 3d DCA 2001) (holding that probable cause is a complete

   bar to an action for false arrest under Florida law).

   II.    First Amendment Claim

          In Count Three, Plaintiff contends that the Individual Defendants, in arresting him,

   violated his First Amendment right to peaceably assemble. However, “when an officer has

   arguable probable cause to arrest, he is entitled to qualified immunity both from Fourth

   Amendment claims for false arrest and from First Amendment claims stemming from the arrest.”

   Khokhar, 884 F.3d at 1298. Accordingly, the Individual Defendants are entitled to summary

   judgment on Count Three.

   III.   Claims Against the City

          In Count Four, Plaintiff seeks to hold the City liable for false arrest and excessive force

   claims. A municipality’s liability under § 1983 may not be based on the doctrine of respondeat

   superior. Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978). The municipality is “liable under

   section 1983 only for acts for which [the municipality] is actually responsible,” Marsh v. Butler

   County, 268 F.3d 1014, 1027 (11th Cir. 2001) (en banc), abrogated on other grounds by Bell Atl.


                                                     7
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 8 of 15




   Corp. v. Twombly, 550 U.S. 544 (2007), i.e., only when the municipality’s “official policy”

   causes a constitutional violation, Monell, 436 U.S. at 694. Thus, to establish liability for a

   § 1983 claim against a municipality, the plaintiff must “identify a municipal ‘policy’ or

   ‘custom’ that caused [his] injury.” Gold v. City of Miami, 151 F.3d 1346, 1350 (11th Cir. 1998)

   (quoting Bd. Of Cty. Comm’rs v. Brown, 520 U.S. 397, 403 (1997)). Plaintiff therefore, has two

   methods through which he could establish the City’s liability: “identify either (1) an officially

   promulgated [City] policy or (2) an un-official custom or practice of the [City] shown through

   the repeated acts of a final policy maker for the [City].” Grech v. Clayton County, 335 F.3d

   1326, 1329 (11th Cir. 2003) (en banc). Plaintiff fails to identify a City policy, custom, or

   practice that resulted in either his arrest or the use of force against him. Accordingly, the City is

   entitled to summary judgment on Count Four.

   IV.    Excessive Force Claims Against the Individual Defendants

          Plaintiff contends that the Individual Defendants violated his Fourth Amendment rights

   by using excessive force during his arrest. The Individual Defendants contend that their use of

   force was not excessive and that, even if it were, they are entitled to qualified immunity.

          “Qualified immunity shields government officials from liability for civil damages for

   torts committed while performing discretionary duties unless their conduct violates a clearly

   established statutory or constitutional right.” Stephens v. DeGiovanni, 852 F.3d 1298, 1314

   (11th Cir. 2017) (quoting Hadley v. Gutierrez, 526 F.3d 1324, 1329 (11th Cir. 2008)). The

   Individual Defendants bear the burden of establishing that the allegedly unconstitutional conduct

   occurred while they were acting within the scope of their discretionary authority, an undisputed

   issue in this case. The burden thus shifts to Plaintiff “to show that qualified immunity is not

   appropriate.” Id. (quoting Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002)).


                                                    8
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 9 of 15




          To ascertain whether a defendant is protected by qualified immunity, the Court engages

   in a two-part inquiry. First, do “the facts, taken in the light most favorable to the party asserting

   the injury . . . show the officer’s conduct violated a federal right”? Id. (quoting Tolan v. Cotton,

   134 S. Ct. 1861, 1865 (2014)). Second, was “the right in question . . . ‘clearly established’ at the

   time of the violation.” Id. (quoting Tolan, 134 S. Ct. at 1865).

          A.      Constitutional Violation – Excessive Use of Force

          Under the Fourth Amendment, an officer’s use of force is excessive if it was “objectively

   [un]reasonable in light of the facts and circumstances confronting” the officer. Graham v.

   Connor, 490 U.S. 386, 397 (1989). “The ‘reasonableness’ of a particular use of force must be

   judged from the perspective of a reasonable officer on the scene, rather than with the use of

   20/20 hindsight.” Id. at 396.

          In determining whether an officer’s use of force was within the bounds of the Fourth

   Amendment, the Court analyzes several factors, including “(1) the severity of the crime at issue,

   (2) whether the suspect poses an immediate threat to the safety of the officers or others, and (3)

   whether [the suspect] is actively resisting arrest or attempting to evade arrest by flight.” Id.

   Courts “also consider ‘the extent of the injury inflicted’ and whether the use of force was

   proportionate to its need at the time.” Scott v. Battle, 688 F. App’x 674, 677 (11th Cir. 2017)

   (quoting Hadley, 526 F.3d at 1329).

          The Court finds that, viewing the record in the light most favorable to the Plaintiff, the

   Individual Defendants’ use of force was excessive. First, Plaintiff’s alleged crime was not

   severe. As detailed above, Plaintiff was essentially ignoring a dispersal order – a misdemeanor.

   He was not accused of a violent crime and was not acting in a violent manner. See Stephens, 852

   F.3d at 1322 (finding that a misdemeanor did not “rise[] to the level of criminal conduct that


                                                    9
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 10 of 15




   should have required the use of force”). Second, there is no indication in the record that Plaintiff

   was an immediate threat to the safety of the officers or others. Plaintiff, while perhaps verbally

   obnoxious, had no weapon and was not threatening anyone. See Brand v. Casal, 877 F.3d 1253,

   1264 (11th Cir. 2017) vacated as moot, No. 16-10256 (11th Cir. May 1, 2018)6 (finding that

   even though the plaintiff was “upset [and] agitated,” there was no evidence that she posed a

   threat to officers or others). Third, there is a genuine issue of fact as to whether Plaintiff was

   resisting arrest at all. Despite the Individual Defendants’ self-serving statements, the video

   depicts Plaintiff being thrown to the ground and covered by several officers. He can be heard

   stating “I’m not resisting.” Indeed, it does not appear that Ortiz even told Plaintiff he was under

   arrest. Based on these factors, there was no reasonable need for the Individual Defendants to

   throw Plaintiff to the ground and to strike, kick, or smother him. See id. (finding use of force

   excessive, in part, because plaintiff “had not even been told she was under arrest at the time she

   was tased”); Fils v. City of Aventura, 647 F.3d 1272, 1288 (11th Cir. 2011) (“[R]esisting arrest

   without force does not connote a level of dangerousness that would justify a greater use of

   force.”); Stephens, 852 F.3d at 1323–24 (holding that officers’ use of force was excessive where

   the plaintiff was compliant with police commands and never attempted to flee the scene).

           The Court may also look to Plaintiff’s injuries in assessing whether force was excessive.

   See Scott, 688 F. App’x at 677. Although an arrest generally involves some amount of force and

   injury, “the amount of force used by an officer in seizing and arresting a suspect ‘must be

   reasonably proportionate to the need for that force.’” Stephens, 852 F.3d at 1324 (quoting Lee,

   284 F.3d at 1198). The Individual Defendants threw Plaintiff against a wall and to the ground

   with a significant degree of force. They then piled on him and struck him, without giving


   6
           The Eleventh Circuit vacated the opinion issued on December 19, 2017, based on the parties’ settlement.
   See Brand v. Casal, No. 16-10256 (11th Cir. May 1, 2018)
                                                         10
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 11 of 15




   Plaintiff a warning that he was under arrest or an opportunity to put his hands behind his back.

   The battery was severe enough to fracture Plaintiff’s orbital bone and to cause facial lacerations

   and bruising. The Individual Defendants’ use of force, on a non-violent man for what amounts to

   a misdemeanor, simply is not proportional to the need for that force. See id., 852 F.3d at 1327

   (finding use of force unreasonable where plaintiff was not resisting arrest yet ended up with

   severe injuries); Scott, 688 F. App’x at 677 (finding use of force–slamming the plaintiff to the

   ground with enough force that it broke her shin bone–excessive where plaintiff was secured and

   not resisting). Indeed, the Eleventh Circuit has held that “gratuitous use of force when a criminal

   suspect is not resisting arrest constitutes excessive force.” Stephens, 852 F.3d at 1327–28

   (quoting Hadley, 526 F.3d at 1330)..

          Accordingly, the Court finds that, based on the record before it and viewing the facts in

   the light most favorable to Plaintiff, the Individual Defendants’ use of force in arresting Plaintiff

   was excessive and therefore a violation of Plaintiff’s constitutional rights.

          B.      Clearly Established Law

          Having determined that the Individual Defendants violated Plaintiff’s constitutional right

   to be free of excessive force, the Court must now determine whether the constitutional right was

   “clearly established” at the time of the incident such that the officers are not entitled to qualified

   immunity.     “The relevant, dispositive inquiry in determining whether a right is clearly

   established is whether it would be clear to a reasonable officer that his conduct was unlawful in

   the situation he confronted.” Saucier v. Katz, 533 U.S. 194, 202 (2001) receded from by Pearson

   v. Callahan, 555 U.S. 223, 236 (2009) (holding that while Saucier’s two-step sequence for

   resolving qualified immunity claims is often appropriate, courts may “exercise their sound

   discretion in deciding which of the two prongs should be addressed first in light of circumstances


                                                    11
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 12 of 15




   in the particular case at hand”) The Eleventh Circuit employs two methods to determine if a

   right is clearly established. Stephens, 852 F.3d at 1315. Under the first method, the Court looks

   at “the relevant case law at the time of the violation; the right is clearly established if a concrete

   factual context exists so as to make it obvious to a reasonable government actor that his actions

   violate federal law.” Id. (quoting Fils, 647 F.3d at 1291). Under the second method, the Court

   looks “not at case law, but at the officer’s conduct, and inquires whether that conduct lies so

   obviously at the very core of what the Fourth Amendment prohibits that the unlawfulness of the

   conduct was readily apparent to the officer, notwithstanding the lack of fact-specific case law.”

   Id. (quoting Fils, 647 F.3d at 1291). Actions that fall under this method—deemed obvious-

   clarity cases—are the exception to the rule that a controlling and similar case must establish a

   constitutional violation. Id.

                  1.      Relevant Case Law

          At the time of Plaintiff’s arrest, there was law that clearly established that the amount of

   force used by the Individual Defendants to arrest Plaintiff, an unarmed and non-resisting suspect,

   was unlawful. In Fils, the Eleventh Circuit held that there was no qualified immunity for officers

   who tased a man who was only suspected of a misdemeanor, did not present a threat to the

   officers’ safety or the safety of others, and was not resisting arrest or attempting escape.      647

   F.3d at 1288–90. Similarly, in Priester v. City of Riviera Beach, the Eleventh Circuit held that

   there was no qualified immunity for an officer who released a police dog on a burglary suspect

   where the suspect posed no threat of bodily harm to the officers or others and had complied with

   the officer’s request to lie down on the ground. 208 F.3d 919, 927 (11th Cir. 2000). In Lee, an

   officer detained a suspect for the offense of improperly honking her horn while driving. 284

   F.3d at 1190–91. The officer then pulled the suspect from her car, handcuffed her, and slammed


                                                    12
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 13 of 15




   her against the trunk of her car. There was a factual dispute as to whether the suspect was

   resisting arrest. The Eleventh Circuit affirmed the district court’s denial of the officer’s motion

   for summary judgment based on qualified immunity finding that the officer’s use of force “after

   [the suspect] was arrested, handcuffed, and completely secured, and after any danger to the

   arresting officer as well as any right of flight had passed” was unreasonable. Id. at 1199.

          Based on Fils, Preister, and Lee, the Court finds that no objectively reasonable officer in

   the position of the Defendant Officers could have thought that throwing Plaintiff to the ground,

   piling on top of him, and hitting him such that he suffered a fractured orbital bone was a

   constitutionally permissible use of force. Indeed, like the plaintiffs in the aforementioned cases,

   Plaintiff (1) disputes that he was resisting arrest—a position supported in part by the video and

   audio recordings, (2) was detained for a minor offense, and (3) was not threatening the safety of

   the officers or others around him. As a result, the Individual Defendants are not entitled to

   qualified immunity on Plaintiff’s excessive force claim.

                  2.      Obvious Clarity

          The Court also finds that this action falls within the realm of the “obvious-clarity” cases.

   “In an obvious-clarity case, where the officer’s conduct is plainly objectively unreasonable, a

   court does not need prior case law to determine the force used by the officer was excessive and

   unlawful, because it was disproportionate.” Stephens, 852 F.3d at 1318. In Stephens, the plaintiff

   was arrested for driving without a valid driver’s license. In effectuating the plaintiff’s arrest, the

   officer struck the plaintiff several times, threw the plaintiff’s head into the car-door jamb, and

   injured the plaintiff’s hand. The Eleventh Circuit held that the officer’s disproportionate use of

   force against the plaintiff was objectively unreasonable. Id. at 1328. Here, Plaintiff was outside

   of his apartment building celebrating with other Heat fans. He was not holding a weapon. He


                                                    13
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 14 of 15




   was not threatening anyone. He was arrested without warning and thrown to the ground by

   several officers. He disputes that he was resisting arrest. Despite Plaintiff’s repeated statements

   that he was “not resisting,” the officers told him to “shut the fuck up” and proceeded to strike

   him. Plaintiff suffered significant injuries. Considering the evidence in the light most favorable

   to Plaintiff, the Court finds that the Individual Defendants’ “gratuitous use of force” was

   disproportionate and objectively unreasonable. Id.          (quoting Hadley, 526 F.3d at 1330).

   Accordingly, Defendants’ motion for summary judgment as to the excessive force claim is

   denied.

             C.     State Law Battery Claim

             Plaintiff also alleges a Florida state law battery claim against the Individual Defendants.

   Under Florida law, “if excessive force is used in an arrest, the ordinarily protected use of force

   by a police officer is transformed into a battery.” City of Miami v. Sanders, 672 So. 2d 46, 46

   (Fla. 3rd DCA 1996). “A battery claim for excessive force is analyzed by focusing upon whether

   the amount of force used was reasonable under the circumstances.” Id. The Court has already

   determined that this action must proceed to trial on whether the Individual Defendants’ use of

   force was excessive.       In addition, the Court cannot find, at this stage, that the Individual

   Defendants are shielded by Florida Statute § 786.28(9)(a), which provides that an officer cannot

   be held personally liable in tort if acting within the scope of his employment unless he acted “in

   bad faith or with malicious purpose or in a manner exhibiting wanton and willful disregard of

   human rights, safety, or property.” Fla. Stat. § 768.28(9)(a). The Court finds there are disputed

   issues of fact as to whether the individual officers were acting in bad faith, with a malicious

   purpose, or in wanton and willful disregard of Plaintiff’s rights, especially in light of the severity

   of Plaintiff’s injuries under the circumstances and the subsequent mocking of those injuries by


                                                     14
Case 1:16-cv-23064-DPG Document 134 Entered on FLSD Docket 06/01/2018 Page 15 of 15




   one or more officers. Accordingly, Defendant’s motion for summary judgment is denied as to

   Count Six.

                                            CONCLUSION

         Based on the foregoing, it is

         ORDERED AND ADJUDGED that:

         1. Defendant Officers Ruben Rojas, Magdiel Perez, Josue Herrera, and the City of

                Miami’s Motion for Summary Judgment [ECF No. 84] and Defendant, Javier Ortiz’s

                Motion for Summary Judgment [ECF No. 86] are GRANTED in part.

         2. Summary Judgment is entered in favor of Defendants on Counts One, Three, Four

                and Five. The case will proceed to trial on Counts Two and Six.


         DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of June, 2018.




                                                ________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE




                                                   15
